Case 2:23-cv-00482-RJS Document 21-1 Filed 08/04/23 PagelD.1256 Page 1of1

Return of Service
UNITED STATES DISTRICT COURT
District of Utah
Securities and Exchange Commission Case Number: 2:23-cv-00482
Plaintiff
vs.

Digital Licensing Inc.; et al.
Defendant

On behalf of:

U.S. Securities and Exchange Commission
100 F St NE

Washington, DC 20549

Received by Cavalier to be served on Jacob S. Anderson at ee

|, Lydia Heykamp, being duly sworn, depose and say that on August 2, 2023 at or about 8:20 AM | served Summons &
Complaint; Civil Cover Sheet with Attachments; Temporary Restraining Order and Orders: (1) Freezing Assets; (2)
Requiring Accountings; (3) Prohibiting the Destruction of Documents; and (4) Granting Expedited Discovery; (5)
Repatriating Assets; Plaintiff Securities and Exchange Commission's Ex Parte Application for Entry of Temporary
Restraining Order and Orders : (1) Freezing Assets; (2) Requiring Accountings; (3) Prohibiting the Destruction of
Documents; and (4) Granting Expedited Discovery; (5) Repatriating Assets; and (6) Order to Show Cause Re
Preliminary Injunction and Memorandum in Support; Index of Exhibits; Exhibits 1-4; Rule 65(b)(1)(B) Attorney
Certification; Motion to File Case Under Court Seal; [proposed] Order Sealing Case; Temporary Receivership Order;
Plaintiff Securities and Exchange Commission's Ex Parte Application for Appointment of a Temporary Receiver as to
Defendant Digital Licensing, Inc. and Order to Show Cause Re Appointment of A Permanent Receiver, and
Memorandum in Support; [proposed] Temporary Receivership Order and Order to Show Cause re Appointment of a
Permanent Receiver; Preliminary Injunction and Orders (1) Freezing Assets; (2) Prohibiting the Destruction or
Alteration of Documents; (3) Granting Expedited Discovery; (4) Requiring Accountings; and (5) Appointing a

Permanent Receiver; Qualifications Letter; Plaintiff Securities and Exchange Commission's Expedited Writt
Discovery Requests with Exhibit personally to Jacob S. Anderson (an

| am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in
controversy. | am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, | declare that the foregoing is true and correct.

Aydia Heykamip

“Cavalier CPS
823-C S. King Street
Leesburg, VA 20175
(703) 431-7085

Our Job Number: 2023-112619
Reference: 23-SLRO-008

